       Case 5:15-cv-02517-KK Document 9 Filed 12/21/15 Page 1 of 2 Page ID #:50



     Paul Mankin, Esq. (264038)
1
     Law Offices of Paul Mankin, IV
2    8730 Wilshire Blvd #310
     Beverly Hills, CA 90211
3    Phone: 877 219-3577
     Fax: 866 633-0228
4
     pmankin@paulmankin.com
5    Attorney for Plaintiff

6                           UNITED STATES DISTRICT COURT
7
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

8    YVONNE GLEASON,                    ) Case No. 5:15-cv-02517-KK
                                        )
9    Plaintiff,                         ) NOTICE OF DISMISSAL                     WITHOUT
10
                                        ) PREJUDICE
             vs.                        )
11                                      )
     NAVIENT SOLUTINS, INC., AND DOES 1 )
12
     THROUGH 10, inclusive,             )
13                                      )
     Defendant.                         )
14

15
            NOW COMES Plaintiff by and through her attorney to respectfully provide this
16
     Honorable Court with notice of Plaintiff dismissal of this matter without prejudice
17
     pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(i).
18

19                        Respectfully submitted this 21st Day of December 2015

20                                          By: /s/ L. Paul Mankin, IV
                                                 Law Offices of Paul Mankin, IV
21
                                                 Attorney for Plaintiff
22

23

24

25

26

27

28




                                   Notice of Dismissal without Prejudice- 1
       Case 5:15-cv-02517-KK Document 9 Filed 12/21/15 Page 2 of 2 Page ID #:51



     Filed electronically on this 21st day of December, 2015, with:
1

2    United States District Court CM/ECF system

3    Notification sent electronically via the Court’s ECF system to:
4
     Dennis N. Lueck, Jr.
5    Akermann, LLP
     1400 Wewatta Street, suite 500
6    Denver, CO 80202
7
     Dennis.lueck@akerman.com

8    /s/L. Paul Mankin
     L. Paul Mankin
9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                    Notice of Dismissal without Prejudice- 2
